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546837-01 BDN
                        UNITED STATES BANKRUPTCY COURT
                                    FOR THE
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

IN RE:                                            CHAPTER 7
            ASHLIE NOEL COWAN                     BANKRUPTCY NO. 25-01168

            Debtors

                                        APPEARANCE

         Comes now Benjamin Dennison of Keith D. Weiner & Associates Co., L.P.A. and enters

an appearance on behalf of the Creditor herein, Credit Acceptance Corporation, and requests that

all notices sent by the Clerk pursuant to Bankruptcy Rule 2002 be sent to counsel at the address

set forth below.


Keith D. Weiner & Associates Co., L.P.A.



By: /s/ Benjamin Dennison
Thomas L. Canary Jr. (#4239-10)
Lindsey Hall (OH#0075152)
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                                          CERTIFICATE

I hereby certify that the foregoing either has been sent electronically, or by first class mail to the
persons listed below on the date that this pleading is filed with the court:

1.     Office of the U.S. Trustee at (registered address)@usdoj.gov

2.     Thomas A. Krudy on behalf of the Chapter 7 Trustee's office at
tkrudytrustee@gmail.com

3.     Matthew Donald Draving on behalf of Ashlie Noel Cowan, Debtor, at
mattdraving@slbankruptcy.com


And by regular U.S. mail, postage prepaid, to:

Ashlie Noel Cowan
3090 N Morton St, Lot 3
Franklin, IN 46131



Keith D. Weiner & Associates Co., L.P.A.

By: /s/ Benjamin Dennison
Thomas L. Canary Jr. (#4239-10)
Lindsey Hall (OH#0075152)
Daniel C. Wolters (OH#0076521)
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